Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 1 of 9 Page ID #:349




                                                                          12
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 2 of 9 Page ID #:350




                                                                          13
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 3 of 9 Page ID #:351




                                                                          14
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 4 of 9 Page ID #:352




                                                                          15
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 5 of 9 Page ID #:353




                                                                          16
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 6 of 9 Page ID #:354




                                                                          17
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 7 of 9 Page ID #:355




                                                                          18
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 8 of 9 Page ID #:356




                                                                          19
Case 2:19-cv-08917-SB-KS Document 30-16 Filed 01/28/21 Page 9 of 9 Page ID #:357




                                                                          20
